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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

JAYLIMAR NATAL-LUGO, individually,
and as Special Personal Representative of the
ESTATE OF LARRY RUIZ BARRETO, and
as Conservator of and on behalf of her and the
decedents minor child, Plaintiff L. A. R-L;
DEMIX RUIZ, individually,
and as co-Special Personal Representative of the
ESTATE OF LARRY RUIZ BARRETO;
LESLIE LUGO,
JONATHAN RUIZ-HERNANDEZ,
MIGUEL SANCHEZ,
AND JOSE RUIZ-HERNANDEZ,
               Plaintiffs

VS.                                                   Civil Action No. 1:20-cv-11979 GAO

CITY OF FALL RIVER;
IAN SCHACHNE, in his capacity
as Treasurer of the CITY OF FALL RIVER;
JASIEL CORREIA, in his individual capacity,
and official capacity as Mayor of Fall River 2015-2019;
FALL RIVER POLICE DEPARTMENT;
and Police Officers NICHOLAS HOAR, DANIEL RACINE,
ALBERT DUPERE, ALLAN CORREIRO, MICHAEL PESSOA,
DEREK OAGLES, MICHAEL SILVIA, ROSS AUBIN, TYLER PAQUETTE,
SEAN AGUIAR, BRENDEN MCNEMEY, PETER DALUZ,
JENNIFER DELEON, THOMAS ROBERTS, JOHNATHAN DESCHENES,
DAVID MCELROY, SERGEANT GREGORY BELL, and
JOHN DOES 1-25, in their individual capacities
and official capacities,
                        Defendants

                               FIRST AMENDED COMPLAINT

       The plaintiffs move the Court for entry of judgment in their favor against the City of Fall

River and the other Defendants, and in support of such Complaint aver as follows:

                                        INTRODUCTION

    1. This is a Federal Civil Rights action brought as a result of what the Plaintiffs believe was
a blatant violation of, inter alia, the federal civil, constitutional and human rights of 19 year old
Larry Ruiz-Barreto on November 12, 2017, who sustained fatal injuries after he was shot

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multiple times at point blank range by Fall River Police Officer Nicholas Hoar as he sat in his
motor vehicle minding his own business; and a blatant violation of the rights of Demix Ruiz-
Hernandez, Leslie Lugo, Jonathan Ruiz-Hernandez, Miguel Sanchez, and Jose Ruiz-Hernandez,
who were unlawfully arrested, detained and maliciously prosecuted, all without probable cause
or other justification, after being violently assaulted and battered on videotape at the Charlton
Memorial Hospital by a small army of defendant police officers as the decedent’s family was
peacefully mourning the loss of Larry Ruiz-Barreto two hours after he was shot by police on
November 12, 2017.

   2. It is alleged that each of the Plaintiff’s rights under certain federal statutes, to include 42
U.S.C. Sections 1983, 1985 and 1986, together with the 1st, 4th, 8th and 14th Amendment rights
under the Constitution of the United States of America and rights guaranteed by the
Commonwealth of Massachusetts were violated.

                                         JURISDICTION

    3. Federal jurisdiction in this case is predicated on Title 28 U.S.C. §§ 1331 and 1343, et
seq., in that this is a case brought under the authority of the Civil Rights Act of 1871, Title 42
U.S.C. § 1983, 1985, and 1986, and the Fourth and Fourteenth Amendments to the United States
Constitution.

   4. Jurisdiction over state-law claims is asserted as supplemental jurisdiction pursuant to 28
U.S.C. § 1367.

    5. The Plaintiffs herein invoke the federal question jurisdiction of the Honorable Court
pursuant to 28 U.S.C. Sections 1331 & 1343 to obtain a judgment for the costs of suit, including
reasonable attorney's fees, and damages suffered and sustained by the Plaintiffs and caused by
the Defendants' blatant violation of the rights, privileges and immunities as guaranteed Plaintiffs
by the First, Fourth, Eighth, and Fourteenth Amendments to the Constitution of the United States
of America and by the applicable Federal statutes, more particularly, 42 U.S.C. Sections 1983,
1985, 1986 & 1988.

                                              VENUE

    6. Venue is proper in this jurisdiction and district pursuant to 28 U.S.C. Section 1391(b)
because a substantial part of the real and immediate harm sustained by the Plaintiffs occurred in
this judicial district and division.

                                             PARTIES

    7. Plaintiff, ESTATE OF LARRY RUIZ-BARRETO, has been created by and approved by
the Probate Court Justice for the Bristol Probate and Family Court of the City of Taunton, in
Bristol County, Massachusetts, and JAYLIMAR NATAL LUGO and DIMEX RUIZ, the duly
appointed Special Personal co-Representatives appointed by said Probate Court. See Estate of
Larry Ruiz Barreto, Docket No. BR20P2104 (October 28, 2020).



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    8. Plaintiff JAYLIMAR NATAL LUGO, at all times relevant hereto, was and is a resident
of the City of New Bedford, Massachusetts, brings this action individually, as the Conservator
and Parent of minor Plaintiff L.A. R-L, the surviving daughter of the decedent, Larry Ruiz
Barreto, and as the duly appointed Special Personal Representative of the ESTATE OF LARRY
RUIZ BARRETO, and for her heirs at law and other statutory beneficiaries and his estate
pursuant to the Massachusetts Gen Laws.

    9. Plaintiff herein, DEMIX RUIZ a/k/a Demix Ruiz Hernandez, at all times relevant hereto,
was and is a resident of the City of New Bedford, Massachusetts, brings this action individually,
and as the duly appointed Special Personal Representative of the ESTATE OF LARRY RUIZ
BARRETO, and for her heirs at law and other statutory beneficiaries and his estate pursuant to
the Massachusetts Gen Laws.

    10. Plaintiff herein, JOSE RUIZ-HERNANDEZ, is, and at all times herein mentioned was a
resident of New Bedford, Massachusetts, in Bristol County. Plaintiff is a citizen and resident of
the United States of America and the Commonwealth of Massachusetts and is entitled to the
protections of the Constitution of the United States and the Massachusetts Declaration of Rights.

    11. Plaintiff herein, JONATHAN RUIZ-HERNANDEZ, is, and at all times herein mentioned
was a resident of New Bedford, Massachusetts, in Bristol County. Plaintiff is a citizen and
resident of the United States of America and the Commonwealth of Massachusetts and is entitled
to the protections of the Constitution of the United States and the Massachusetts Declaration of
Rights.

    12. Plaintiff herein, MIGUEL SANCHEZ, is, and at all times herein mentioned was a
resident of New Bedford, Massachusetts, in Bristol County. Plaintiff is a citizen and resident of
the United States of America and the Commonwealth of Massachusetts and is entitled to the
protections of the Constitution of the United States and the Massachusetts Declaration of Rights.

    13. Plaintiff herein, LESLIE LUGO, is, and at all times herein mentioned was a resident of
New Bedford, Massachusetts, in Bristol County. Plaintiff is a citizen and resident of the United
States of America and the Commonwealth of Massachusetts and is entitled to the protections of
the Constitution of the United States and the Massachusetts Declaration of Rights.

     14. Defendant CITY OF FALL RIVER is a governmental entity and municipal corporation,
duly organized and existing under the laws of the Commonwealth of Massachusetts. The City of
Fall River operates the Fall River Police Department. It is sued through Defendant IAN
SCHACHNE, its Treasurer. At all times relevant hereto, Defendant City, acting through the Fall
River Police Department, was responsible for the policy, practice, supervision, implementation,
and conduct of all Fall River PD matters and was responsible for the appointment, training,
supervision, discipline and retention and conduct of all Fall River PD personnel. In addition, at
all times here relevant, Defendant City was responsible for enforcing the rules of the Fall River
PD, and for ensuring that the Fall River PD personnel obey the laws of the United States and the
Commonwealth of Massachusetts.




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   15. Defendant JASIEL CORREIA was the Mayor of the City of Fall River from 2015 to
2019. As such, he was responsible for the City’s administration and policy-making during this
time, including the policies and procedures described herein and for their enforcement.

   16. Defendant FALL RIVER POLICE DEPARTMENT is a duly incorporated municipality
with a usual place of business located at 685 Pleasant Street, Fall River, Bristol County,
Massachusetts.

    17. At all times herein mentioned DEFENDANT DANIEL RACINE was the Fall River
Chief of Police until December 1, 2017, and ALBERT DUPERE was the CHIEF OF POLICE for
the Fall River Police Department from December 1, 2017 until March 2020. Defendants
DANIEL RACINE and CHIEF DUPERE are sued herein in their individual capacity and in their
official capacities as CHIEF of POLICE.

    18. At all times mentioned herein, defendant NICHOLAS HOAR was an employee of the
Fall River Police Department. He is being sued in his individual capacity and in his official
capacity as a POLICE OFFICER.

    19. At all times mentioned herein, defendant’s ALLAN CORREIRO, MICHAEL PESSOA,
DEREK OAGLES, MICHAEL SILVIA, ROSS AUBIN, AND TYLER PAQUETTE, SEAN
AGUIAR, OFFICER BRENDEN MCNEMEY, PETER DALUZ, JENNIFER DELEON,
THOMAS ROBERTS, JOHNATHAN DESCHENES, AND DAVID MCELROY, AND
SERGEANT GREGORY BELL were employees of the Fall River Police Department. They are
being sued in their individual capacity and official capacity as Fall River Police Officers.

    20. Plaintiffs are ignorant of the true names and capacities of Defendants Does 1 through 20,
inclusive, and therefore sue these defendants by such fictitious names. Plaintiffs are informed
and believe and thereon allege that each defendant so named is responsible in some manner for
the injuries and damages sustained by Plaintiffs as set forth herein, including but not limited to
the detention, wrongful death of decedent, the coverup, and assault and false arrest and
prosecution of Plaintiffs DEMIX RUIZ-HERNANDEZ, LESLIE LUGO, JONATHAN RUIZ-
HERNANDEZ, MIGUEL SANCHEZ, AND JOSE RUIZ-HERNANDEZ. Plaintiffs will amend
their complaint to state the names of Does 1-20, inclusive, when they have been ascertained.
They are each sued in their individual capacity and official capacity. Defendants Does 1 through
20, include managerial, supervisorial, and policymaking employees of the Fall River PD, who
were acting in their individual capacities and under color of law within the course and scope of
their duties as individual police officers, and managerial, supervisorial, and policymaking
employees for the Fall River PD. DOES 1-20 include those acting with the complete authority
and ratification of their principal, Defendant CITY.

    21. At all relevant times, these Defendants, and each of them, were acting under color of law,
that is, under the color of the statutes, ordinances, regulations, policies, customs and usages of
Defendant City of Fall River.

    22. Plaintiffs are ignorant of the true names and capacities of Defendants Does 21 through
25, inclusive, and therefore sue these defendants by such fictitious names. Plaintiffs are
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informed and believe and thereon allege that each defendant so named is responsible in some
manner for the injuries and damages sustained by Plaintiffs as set forth herein, including the
detention, wrongful death of decedent, the coverup, and assault and false arrest and prosecution
of Plaintiffs DEMIX RUIZ-HERNANDEZ, LESLIE LUGO, JONATHAN RUIZ-
HERNANDEZ, MIGUEL SANCHEZ, AND JOSE RUIZ-HERNANDEZ. Plaintiffs will amend
their complaint to state the names of Does 21-25, inclusive, when they have been ascertained.
They are each sued in their individual capacity and official capacity. Defendants Does 21
through 25, include individual police officers, and managerial, supervisorial, and policymaking
employees of the police departments and agencies involved in the acts alleged herein.

    23. At all relevant times, these Defendants, and each of them, were acting under color of law,
that is, under the color of the statutes, ordinances, regulations, policies, customs and usages of
Defendant City of Fall River.

   24. Plaintiffs are required to comply with an administrative tort claim procedure by filing a
Notice of Presentement for such claims. Plaintiffs have complied with all such requirements.

                          STATEMENT OF FACTS
              DRAG RACING IN FALL RIVER INDUSTRIAL PARK WAS
         WELL KNOWN TO FALL RIVER POLICE OFFICER NICHOLAS HOAR –
                 AND EVENTS LEADING UP TO HIM SHOOTING
                    19 YEAR OLD LARRY RUIZ-BARRETO

   25. There is a long history of drag racing in the Fall River Industrial Park area on the
weekends – going back at least 3 decades.

   26. A Facebook group called "Low Budget Racing" organized a drag race which was to occur
on November 12, 2017, at the intersection of Riggenbach and Airport Roads in the Fall River
Industrial Park.

    27. This race involved an individual from Brockton, who was interested in racing an
individual from Rhode Island.

    28. The decedent, a law-abiding citizen, Larry Ruiz-Barreto (19 years old with no criminal
record), and his father, Dimex Ruiz-Hernandez (no criminal record), traveled to watch the race.
A friend, Eusebio Famania, joined them. They arrived in a blue 1997 Acura.

    29. Fall River Police Officer Nicholas Hoar was very familiar with the long history of drag
racing that occurred at this location, and had engaged 30-40 participants the prior evening, on
November 11, 2017, and advised them not to drag race there anymore.

    30. On November 12, 2017, shortly before midnight, two cars, a GTO and Honda, prepared
to race. Spectators lined up near the starting line.



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    31. At this time, a car with two with two female occupants drove southbound on Riggenbach
Road. At the intersection with Airport Road, their car had to go around the GTO and Honda,
while both of these cars were warming up their tires. They did this by pouring a flammable
substance on the roadway, lighting the substance on fire and then driving their cars over the
flames while spinning their tires.

    32. The young women observed this, not knowing this is how race car tires are prepared for
drag racing. After passing through the intersection, the young women heard two bangs which
they believed were possibly gunshots, and called 911.

    33. Fall River Police Officer’s Nicholas Hoar and Allan Correiro, both familiar with this
being consistent with racing activities at this location, were dispatched to the scene and traveled
in separate Police Ford Explorer’s.

         OFFICER HOAR’S UNLAWFUL SHOOTING OF LARRY RUIZ-BARRETO

    34. Officer Hoar arrived first and most of the spectators and vehicles immediately fled the
scene, but Officer Hoar noticed the blue 1997 Acura was parked on the side of the road and
another vehicle was parked right behind it. Rather than chase one of the fleeing vehicles, which
he could have lawfully done under Illinios v. Wardlow, 528 U.S. 119 (2000), Officer Hoar
decided he would execute an investigative stop on the 1997 Acura -- but he claimed he did not
notice any occupants until he exited his police vehicle. Officer Hoar claims once he exited his
police vehicle, he noticed the Acura had its lights on and its motor running.

    35. Police have rules, regulations, and protocols which must be complied with, because they
are designed to ensure the protection of the public and the police officers, and they are also
designed to ensure that the constitutional rights of citizens are not violated by police officers.

    36. Police protocols for a lawful investigatory stop require that it be based upon a reasonable
belief or suspicion on the part of the officer that some activity out of the ordinary is taking place,
that such activity is crime-related, and that the person under suspicion is connected with or
involved in that criminal activity; and police actions cannot exceed the scope of a lawful traffic
stop and / or seizure.

   37. At the time the Officer Hoar stopped the Ruiz-Barreto vehicle, he lacked reasonable
suspicion that the Larry Ruiz-Barreto was committing a crime, and Larry Ruiz-Barreto was not
committing a traffic violation. Thus, the stop and any continued detention violated the Fourth
Amendment to the United States Constitution, and Article 14 of the Massachusetts Declaration of
Rights.

    38. On November 12, 2017, Officer Hoar violated police protocol as he did not possess
reasonable suspicion that Larry Ruiz-Barreto was involved in criminal activity, yet Officer Hoar
executed an unlawful investigatory stop of the parked 1997 Acura he was seated in.


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    39. Officer Hoar again violated police protocol by parking his police vehicle in front of the
1997 Acura. When a target vehicle is subjected to an investigatory stop by a police officer, police
protocol requires that the police officer position his/her patrol vehicle approximately two-car
lengths behind the target vehicle, and slightly offset to the left.

    40. Due to the fact that the occupants of the of stopped 1997 Acura were unknown to Officer
Hoar, police protocol also required that Officer Hoar freeze the situation until enough cover units
arrived to deal with the situation, and the first cover vehicle should position his/her patrol vehicle
to the right of the first officer’s vehicle, leaving enough room between the vehicles to allow the
cover officer to open his/her patrol vehicle door.

     41. Officer Hoar again violated police protocol as he did not wait for any cover vehicles to
arrive, and he got out of his police vehicle with his gun in hand, walked up to the driver’s side
front fender/windshield area, banged his gun barrel against the driver’s side windshield, put his
left hand on the windshield to balance himself to get a direct shot at Larry Ruiz-Borreta in the
driver’s seat, and began shooting with his weapon up next to the windshield. These actions
clearly exceeded the scope of a lawful traffic stop and / or seizure.

    42. To his horror, Dimex Ruiz-Hernandez, father of Larry Ruiz-Barreto, was seated in the
rear passenger seat of the 1997 Acura, and he watched Officer Hoar walk over to the driver’s
side of the vehicle, yell something in English nobody understood, then watched Officer Hoar
bang his service weapon on the windshield while Larry Ruiz-Barreto raised his hands in a
surrender posture, and then watched Officer Hoar lean over the driver’s side of the Acura and
open fire on his son and shoot him 6 times, killing him. Officer Hoar stepped backwards after he
fired the first 2 rounds of 6. The 1997 Acura never moved.

    43. The forensic and eyewitness evidence, and ballistics and ejection patterns demonstrate
that Officer Hoar was standing on the driver’s side of the Acura and started firing into the
windshield and that he began to backpedal after firing his weapon the first 2 of 6 times; and State
Police forensics show that Officer Hoar put his left hand on the hood of the Acura, at an angle
impossible to occur from the hood, for balance to get another direct shot into driver Larry Ruiz-
Barreto, while leaning over the Acura from the driver’s side.

      OFFICER NICHOLAS HOAR AND OFFICER CORREIRO’S COVERUP STORY

    44. On information and belief, defendants Officer Nicholas Hoar and Officer Allan Correiro
and unknown John Does violated police protocol by fabricating a coverup story, after realizing
that Officer Hoar had violated police protocols and killed an innocent person.

   45. Officer Hoar admitted seeing the decedents hands just prior to firing at him, but Officer
Hoar failed to admit that the decedent never moved the 1997 Acura, and failed to admit that
Larry Ruiz-Barreto yielded to the show of authority; i.e., the weapon pointed at him point blank
from 2 feet away by Officer Hoar.

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    46. Officer Hoar had a duty per protocol to avoid using deadly force when an alternative
existed, and even assuming arguendo he was in front of the Acura – the police photo of the scene
illustrates that Officer Hoar could have simply taken a couple steps to his left and stood by the
driver’s side of his police vehicle rather then open fire on Larry Ruiz-Barreto.

    47. During the police radio transmissions aired on television, Officer Hoar made no mention
of being assaulted by or struck by a vehicle or being injured by a vehicle.

    48. A few hours after the shooting, on November 13, 2017, at 6:35pm, the Associated Press
released a newswire stating that the Bristol County District Attorney’s Office reported that Fall
River police shot “at a car to keep it from leaving.” (Exhibit A)(“Fall River Police Shoot
Vehicle to Stop It, Killing Driver”

    49. The District Attorney’s office does not make a mistake like this. However, on
information and belief, the DA’s Office admission reveals that upper level City and State officials
directly participated in changing the version from police shooting the vehicle to stop it
(unlawful), to a version not mentioned anywhere by a single eyewitness – that Larry Ruiz-
Barreto put officer Hoar’s life in danger by striking officer Hoar with his Acura and knocking
him up onto the hood of his car.

    50. On information and belief, Officer’s Hoar and Correiro later fabricated a story stating that
the decedent knocked Officer Hoar up onto the hood of the 1997 Acura, putting Officer Hoar in
fear of being run over, in order to justify the shooting and avoid civil and criminal prosecution –
however, applying the laws of physics to the facts at hand, it is impossible that Officer Hoar was
knocked up onto the hood, and it is impossible that the bullets fired from Officer Hoar’s weapon
were fired while Officer Hoar was on the hood of the Acura.

   51. It is a violation of police protocol for a police officer to ever get in front of a motor
vehicle with its engine running, and it is a violation of Fall River police protocol to shoot at a
moving vehicle unless the moving vehicle places the police officer’s life in danger.

     52. Despite several eyewitnesses to this event, not one of them saw Officer Hoar in front of
the Acura or on its hood and none saw the Acura move – they observed Officer Hoar standing off
to the driver’s side of the 1997 Acura while shooting, where his life was not in danger, and which
is a violation of police protocol.

    53. The forensic evidence shows that Officer Hoar fired from the side of the Acura, as the
shell casings were ejected in locations only consistent with rounds fired from the side of the
Acura, the angles of the 6 bullets that went through the windshield and struck the decedent also
demonstrate that Officer Hoar fired the fatal rounds from the side of the Acura; and the evidence
shows that if Officer Hoar had fired from the hood of the Acura as he alleged that all 6 rounds he
fired would have missed the decedent.

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    54. If Larry Ruiz-Barreto had knocked Officer Hoar up onto the hood as alleged, the
occupants of the 1997 Acura would not have been allowed to leave the scene to go to the hospital
to ascertain the condition of Larry Ruiz-Barreto (who was not pronounced deceased until after he
was removed from the scene by Rescue personnel), as they would have been held as material
witnesses to the alleged deadly assault upon Officer Hoar.

    THE SHOOTING INCIDENT BY OFFICER’S HOAR LED TO THE UNPROVOKED
     POLICE ASSAULT ON THE DECEDENT’S FAMILY 2 HOURS LATER AS THEY
                 PEACEFULLY MOURNED AT THE HOSPITAL

    55. On information and belief, police officer’s in the area are well aware of the family of
Officer Hoar, and his family’s extensive police history, and descended upon the family members
of Larry Ruiz-Barreto to effect retribution upon them due to Officer Hoar discharging his
firearm.

   56. At approximately 2:00pm, while family members DEMIX RUIZ-HERNANDEZ,
LESLIE LUGO, JONATHAN RUIZ-HERNANDEZ, MIGUEL SANCHEZ, AND JOSE RUIZ-
HERNANDEZ mourned the death of Larry Ruiz-Barreto at Charlton Memorial Hospital, an
army of known and as yet unidentified JOHN DOE police officers, from 5 jurisdictions (Fall
River, State Police, Freetown, Somerset, and Swansea), including Fall River Police officers
MICHAEL PESSOA, DEREK OAGLES, MICHAEL SILVIA, ROSS AUBIN, AND TYLER
PAQUETTE, SEAN AGUIAR, OFFICER BRENDEN MCNEMEY, PETER DALUZ,
JENNIFER DELEON, THOMAS ROBERTS, JOHNATHAN DESCHENES, AND DAVID
MCELROY, and SERGEANT GREGORY BELL surrounded the peacefully mourning family
members and then brutally assaulted and battered the family members -- fracturing the skull of
one family member; arrested them; and charged them with multiple false crimes.

   57. A surveillance video of the incident shows that an army of Police officers (identities of
some are listed in Paragraph 56) violently assaulted DEMIX RUIZ-HERNANDEZ, LESLIE
LUGO, JONATHAN RUIZ-HERNANDEZ, MIGUEL SANCHEZ, AND JOSE RUIZ-
HERNANDEZ, as they peacefully mourned the loss of their loved one.

    58. DEMIX RUIZ-HERNANDEZ, LESLIE LUGO, JONATHAN RUIZ-HERNANDEZ,
MIGUEL SANCHEZ, AND JOSE RUIZ-HERNANDEZ were all held by Fall River police and
arraigned in Fall River District Court and charged with multiple criminal offenses.

    59. They were charged with these offenses based on the falsified police reports written by
Fall River Police Officer’s MICHAEL PESSOA and ROSS AUBIN – who were obviously
unaware that surveillance video recorded the events at Charlton Memorial Hospital. In addition,
these officers wrote sworn reports indicating that DEMIX RUIZ-HERNANDEZ and JOSE
RUIZ-HERNANDEZ made multiple threatening statements toward the Fall River police officers



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-- but these two Plaintiffs couldn’t speak English at all. 1 In addition, Fall River PD employs 281
full time employees (94% White), but only three are Spanish – and no hospital employee where
the incident occurred could speak Spanish either.

  60. A surveillance video of the incident at the hospital shows that DEMIX RUIZ-
HERNANDEZ, LESLIE LUGO, JONATHAN RUIZ-HERNANDEZ, MIGUEL SANCHEZ,
AND JOSE RUIZ-HERNANDEZ did not batter and/or assault any of Defendant officers.

    61. A surveillance video of the incident at the hospital shows that the Defendant police
officers did all the damage to the hospital and falsely blamed the damage on the decedent’s
family members.

   62. A surveillance video of the incident at the hospital shows that DEMIX RUIZ-
HERNANDEZ, LESLIE LUGO, JONATHAN RUIZ-HERNANDEZ, MIGUEL SANCHEZ, and
JOSE RUIZ-HERNANDEZ did not obstruct justice and/or resist arrest by Defendant officers.

    63. The use of force initiated by Defendant officers and the failure to intervene in the use of
that force caused an excessive amount of force to be inflicted onto the bodies of Plaintiff’s
DEMIX RUIZ-HERNANDEZ, LESLIE LUGO, JONATHAN RUIZ-HERNANDEZ, MIGUEL
SANCHEZ, AND JOSE RUIZ-HERNANDEZ. This force was unreasonable and unnecessary.

    64. Unbeknownst to the assaulting officers was the fact that the patriarch of the Ruiz-
Hernandez family was a recently retired police Lt. in another jurisdiction, who was a police
officer for 34 years; which is why the family members offered no resistance.

   65. As a direct and proximate result of one or more of the described acts or omissions of
DEFENDANT OFFICERS, Plaintiff DEMIX RUIZ-HERNANDEZ, LESLIE LUGO,
JONATHAN RUIZ-HERNANDEZ, MIGUEL SANCHEZ, AND JOSE RUIZ-HERNANDEZ
were caused to suffer serious and permanent personal injury, pain, suffering and mental anguish,
both now and in the future.

    66. On or about November 12-13, 2017, defendant officers were on duty at all times relevant
to this Complaint, duly appointed, and were sworn police officers for City of Fall River,
Freetown, Somerset, Swansea, and Massachusetts State Police. Defendant officers are sued in
their individual capacity.

    67. In addition, Defendant officers conspired to injure Plaintiff’s by:

               (a) agreeing not to report each other after witnessing Plaintiff’s being beaten;
               (b) collectively beating and/or failing to intervene in the beatings;
               (c) generating false documentation to cover-up for their own misconduct;


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 Since this incident occurred, Dimex Ruiz-Hernandez has started to learn some English so he
can understand these proceedings.
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               (d) withholding information from the Bristol County District Attorney’s Office
               and the State's Attorney, knowing that by withholding the information, Plaintiff’s
               would suffer the consequences of having to defend frivolous criminal
               litigation, which, if Plaintiff’s were found guilty, would cause Plaintiff’s to be
               subject to severe penalties in the form of thousands of dollars as well as a period
               of time in jail.

    68. In connection with the above conspiracy, Defendant officers specifically engaged in
communication on or about the date of Plaintiff's arrest, whereby Defendant officers agreed to
facilitate, engage in and support the activity which occurred in connection with the allegations
set forth above. As a result of this conspiracy, Defendant officers, by and through their
misconduct, proximately caused Plaintiff to be charged with criminal allegations, incur financial
loss, including attorney fees and, inter alia, suffer emotional damage.

                                      MONELL LIABILITY

    69. It is the custom, practice and policy of police officers and/or their supervisors/agents
and/or other employees of City of Fall River to perform the following acts and/or omissions in
connection with allegations of misconduct that are directed at City of Fall River and its police
officers:

               (a) generate false documentation to cover-up for the misconduct of police
               officers;
               (b) supervisory individuals from city fail to properly discipline and / or prosecute
               officers from the police department that have committed an act of misconduct on
               another;
               (c) supervisory individuals from city fail to properly investigate a complaint of
               misconduct perpetrated by a city police officer, on another.

    70. Prior to November 12, 2017, supervisory individuals from City of Fall River failed to
take proper remedial action against a Fall River police officer once it was determined that an
illegal act, an act of excessive force, false arrest and/or malicious prosecution had been
committed by the officer. This practice and/or custom has gone unchecked and been allowed to
exist in the City of Fall River for a significant period of time; so much so, that police officers
recognized that they would not be punished for committing such acts and that, in fact, these acts
are either permitted or quietly consented to by superior officers of city in order to permit such
conduct to reoccur.

   71. A code of silence exists, between the officers of the city police department so as to
obstruct the legal process (preventing the free flow of honest information with regard to acts of
misconduct).

    72. Examples of the illegal and/or inappropriate conduct of city Police Officers has been
alleged and / or substantiated in the following federal court cases alleging federal civil rights
violations over the 25+ years prior to the shooting on November 12, 2017 (excessive force,
making false reports, providing false and/or misleading information in causing detentions,

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arrests, imprisonments and/or malicious prosecutions based on fabricated and/or misleading
statements and/or engaging in similar acts of misconduct):


 Federal Court      Caption              Filed            Closed             Comment
 No.
 1:92-CV-10961-     Olsen v.             4/24/1992                           Fall River police
 PBS                Correiro, et al                                          officers withheld
                                                                             critical evidence,
                                                                             resulting in life
                                                                             sentence in
                                                                             prison.
                                                                             Conviction
                                                                             vacated
 1:92-CV-12393-     Medeiros v.          10/2/1992        Settlement         Death of
 RBC                Oltarzewski et al                                        individual
 1:92-CV-12567-     Viveiros et al v.    10/26/1992       Settled Viveiros
 MEL                City of Fall                          145,000 and
                    River et al                           Rego 70,000
 1:94-CV-10453-     Belovitch v. City    3/8/1994
 JLT                of Fall River
 1:95-CV-10887-     Dumont v. City       5/1/1995         Settlement
 REK                of Fall River
 1:95-CV-10929-     McLaughlin v.        5/5/1995
 PBS                Doe, et al
 1:96-CV-10233-     Connolly v. City     2/7/1996         Settlement
 RCL                of Fall River et
                    al
 1:96-CV-12519-     Corn v. City of      12/13/1996       Settlement
 MEL                Fall River, et al
 1:97-CV-10046-     Duclos v. City of    1/9/1997         Settlement
 MEL                Fall River, et al
 1:97-CV-10585-     Cyr, et al v. City   3/13/1997        Settlement
 REK                of Fall River, et
                    al
 1:97-CV-11415-     Finch, et al v.      6/23/1997
 DFW                City of Fall
                    River, et al
 1:00-CV-10079-     Revoredo v. City     1/18/2000                           Death by police
 RWZ                of Fall River et                                         shooting. Man
                    al                                                       very drunk with
                                                                             knife shot after
                                                                             speaking with
                                                                             police for 8
                                                                             minutes.


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1:02-CV-10071-   Thiboutot v.        1/15/2002    Settlement
MEL              Jackson et al
1:03-CV-10985-   Viera v. City of    5/23/2003    Settlement    Death by police
RCL              Fall River et al                               shooting – Wife
                                                                called police on
                                                                husband, who
                                                                was having a
                                                                mental
                                                                breakdown.
                                                                Police spoke to
                                                                husband but shot
                                                                him when he
                                                                would not drop
                                                                knife as ordered.
1:04-CV-10991-   White et al v.      5/3/2004     Settlement    Two Patrons
NG               Madonna et al                                  falsely charged
                                                                with offenses.
                                                                Filed suit for
                                                                assault and
                                                                battery, wrongful
                                                                imprisonment,
                                                                and malicious
                                                                prosecution.
1:07-CV12134-    Ferriera v. City    11/14/2007   Disposition   Filed suit for
GAO              of Fall River, et                unknown       assault and
                 al                                             battery, wrongful
                                                                imprisonment,
                                                                and malicious
                                                                prosecution.
1:09-CV-10572-   Roque v. City of    4/14/2009    Settled       Fall River
GAO              Fall River et al                               Officer Michael
                                                                Pessoa and
                                                                Dennis Gagne
                                                                severely beat 16
                                                                year old boy and
                                                                lacerated his
                                                                spleen
1:09-10877-      Carbajal v.                      Settled for   Violent assault w
RBC              Smith, et al                     90,000        permanent
                                                                injuries
1:09-CV-10887-   Machado et al v. 5/26/2009       Settled       Karen Machado
RBL              Madonna et al                                  and Joseph
                                                                Conchinha
                                                                assaulted by
                                                                Officer
                                                                Madonna in their

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                                                              home – Officer
                                                              Madonna not
                                                              prosecuted,
                                                              despite history
                                                              of assaults.
                                                              Madonna applies
                                                              for disability
1:11-CV-11111-   Alison Acevedo,    4/12/11     Settled       Police execute
JLT              Estate of Dennis                             search warrant
                 Mendez, v.                                   and see Mendez
                                                              trying to
                                                              swallow
                                                              contraband and
                                                              severely beat
                                                              him.
1:12-CV-10194-   Rivera v. Lavoie, 2/1/2012     Settled       Police forcibly
DPW              et al                                        remove medical
                                                              device from man
                                                              in custody
1:14-CV-12989-   Salvidar v.        7/14/2014   600,000       Officer Pridgen
NMG              Pridgen, et al                 judgment      rapes and beats
                                                              Salvidar in her
                                                              home after she
                                                              requests police
                                                              assistance.
                                                              Officer Pridgen
                                                              not prosecuted
                                                              and simply
                                                              allowed to
                                                              resign.
1:14-CV-14355    Thompson v.        12/8/2014   Settled for   Police officer
                 Barboza                        72,500        unlawfully
                                                              seizes phone of
                                                              man recording
                                                              him and arrests
                                                              him even though
                                                              First Circuit
                                                              already held this
                                                              is lawful
                                                              activity. Police
                                                              then deleted cell
                                                              phones content,
                                                              which was
                                                              critical evidence
                                                              in case.


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1:14-CV-13749-   Kotlin v. City of               Undisclosed   Filed suit for
NMG              Fall River et al                Settlement    1983 violations,
                                                 1/9/2019      and excessive
                                                               force against
                                                               person over 60
May 16, 2016     Scott Macomber      5/16/2016                 Death. Scott
                                                               Macomber was
                                                               present when
                                                               police arrested a
                                                               female. A
                                                               witness stated
                                                               Macomber had
                                                               his cell phone
                                                               and was
                                                               videoing arrest
                                                               when police
                                                               attacked him.
                                                               His autopsy
                                                               showed blunt
                                                               trauma to his
                                                               head, back, legs,
                                                               back, and
                                                               contusions. He
                                                               was tasered 3
                                                               times, and died
                                                               right after being
                                                               removed from
                                                               premises. On
                                                               May 16, 2017,
                                                               Bristol County
                                                               DA finds police
                                                               assault was
                                                               unrelated to
                                                               death, and that
                                                               heart disease
                                                               caused death.
1:17-CV-10499-   Roldan v.           3/24/2017   Settlement    Officer Michael
MPK              Pessoa, et al                   3/25/2019     Pessoa and
                                                               another officer
                                                               beat man and
                                                               shatter his leg
                                                               below knee (into
                                                               pieces) while
                                                               kicking him,
                                                               severely
                                                               disabling him

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2018             Victim Larry      11/12/2017                  Shot 6 times at
                 Ruiz-Barreto                                  point blank
                                                               range, while
                                                               simply minding
                                                               own business
                                                               seated in his car
                                                               parked on side
                                                               of road
2018             Victims –         11/13/2017                  Family members
                 Family of Larry                               violently
                 Ruiz-Barreto                                  attacked on
                                                               surveillance
                                                               video at
                                                               Charlton
                                                               Memorial
                                                               Hospital 2 hours
                                                               after shooting by
                                                               Officer Michael
                                                               Pessoa and an
                                                               army of police
                                                               officers, and
                                                               then falsely
                                                               charged with
                                                               numerous
                                                               crimes. No
                                                               police officers
                                                               charged despite
                                                               video showing
                                                               several assaulted
                                                               family members.
                                                               Officer Pessoa’s
                                                               false report
                                                               widely
                                                               disseminated by
                                                               Bristol County
                                                               DA’s office.
                                                               Bristol County
                                                               DA’s office
                                                               withholding all
                                                               discovery
                                                               requested in Feb
                                                               2018 in violation
                                                               of Rule 14.




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    73. On information and belief, not a single police officer in any of the above federal cases
had been prosecuted for a criminal act stemming from these civil actions prior to November 12,
2017 – including Defendant Michael Pessoa; (who fabricated the hospital assault report in the
present case), who was recently indicted for multiple felonies spanning several years after a
mountain of evidence of long-term criminal wrongdoing could no longer be ignored.

    74. The City of Fall River is a duly incorporated municipal corporation and is the employer
and principal of the Defendant Officers as well as the other officers referred to in this Complaint,
as indicated in the Monell claim alleged here. At all times material to this Complaint, Defendant
officers were acting under color of state law, ordinance and/or regulation, statutes, custom and
usages of the City of Fall River Police Department.

     75. Plaintiffs are informed and believe and thereon allege that Defendant City of Fall River,
by and through its supervisory employees and agents, FORMER CHIEFS OF POLICE DANIEL
RACINE AND ALBERT DUPERE, JASIEL CORREIA, and DOES 1-25, inclusive, has and had
a mandatory duty of care to properly and adequately hire, train, retain, supervise, and discipline
its police officers so as to avoid unreasonable risk of harm to detainees. With deliberate
indifference, the City of Fall River and Does 1-25, inclusive, failed to take necessary, proper,
and/or adequate measures to prevent the violation of the decedent and Plaintiffs’ rights.

    76. Plaintiffs are informed and believe and thereon allege that Fall River Police Chiefs
DANIEL RACINE, ALBERT DUPERE, and MAYOR JASIEL CORREIA and Does 1-25,
inclusive, breached their duty of care to the public in that they failed to adequately train,
supervise, and discipline their police officers in the proper making of detentions, arrests and use
of force. This lack of adequate supervisorial training demonstrates the existence of an informal
custom, policy or practice of promoting, tolerating, and/or ratifying with deliberate indifference
the continued making of unlawful detentions, arrests, malicious prosecutions, and use of
excessive force against citizens by Fall River police officers, by defendant police officers, and
DOES 1-25 inclusive.

    77. Plaintiffs are informed and believe and thereon allege that DANIEL RACINE AND
ALBERT DUPERE, AND JASIEL CORREIA and DOES 1-25, inclusive, breached their duty of
care to the public in that they have failed to discipline defendants and DOES 1-25 inclusive, for
their respective misconduct and involvement in the incident described herein. Their failure to
discipline defendants and DOES 1-25 inclusive, demonstrates the existence of an entrenched
culture, policy or practice of promoting, tolerating and/or ratifying with deliberate indifference
the making of improper detentions and arrests, the use of excessive and/or deadly force and the
fabrication of official reports to cover up defendants and DOES 1-25’s inclusive, misconduct.

    78. Plaintiffs are informed and believe and thereon allege that members of the Fall River
Police Department, including, but not limited to, defendants and/or DOES 1-25 and/or each of
them, have individually and/or while acting in concert with one another, engaged in a repeated
pattern and practice of making improper detentions and/or false arrests and using excessive,
arbitrary and/or unreasonable force against individuals, including, but not limited to the decedent

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and Plaintiff’s – because they had no fear of being prosecuted for criminal acts while wearing a
Fall River police officer’s uniform.

    79. Plaintiffs are further informed and believe and thereon allege that said customs, policies,
patterns and/or practices are the product of a culture of tolerance at City of Fall River’s Police
Department in which verbal abuse, physical assaults, unreasonable detentions, false arrests,
fabrication of police reports and/or the violation of citizen’s civil rights are ignored, encouraged
and/or accepted as proper conduct by Fall River Police Officers.

    80. Plaintiff is further informed and believes and thereon alleges that as a matter of official
policy -- rooted in an entrenched posture of deliberate indifference to the constitutional rights of
primarily the minority citizens, defendant City of Fall River has long allowed its citizens, such as
the decedent and all Plaintiff’s in this action, to be subjected to the use of excessive force by its
police officers, including by defendants and/or DOES 1-25 and/or each of them, individually
and/or while acting in concert with one another.

   81. As a result of the pre-existing customs, policies, patterns and/or practices of such abuses
by members of defendant City of Fall River’s Police Department, decedent and Plaintiff’s were
subjected to the violation of their constitutional rights as alleged herein.

                                  MALICIOUS PROSECUTION

    82. On November 13, 2017, the Fall River Police Department issued a public bulletin in
relation to this police shooting, and it stated in part:

          At this time the incident is still under investigation by the Bristol County
          District Attorneys’ Office, Massachusetts State Police Detectives assigned
          to the Bristol County District Attorneys’ Office, State Police Crime Scene
          Unit, Fall River Police Department Major Crimes Division and the Fall
          River Police Crime Scene Unit. A concurrent investigation is being
          performed by the Office of Professional Standards.

    83. One of the three senior members of the Professional Standards Unit that immediately
began investigating this shooting is Sergeant James T. Hoar, brother of Nicholas Hoar (who did
the police shooting).

    84. At all pertinent times DEFENDANT FALL RIVER POLICE DEPARTMENT’S officers
knew they would incur no significant risk of discipline or dismissal from employment for
participating in or covering up the use of excessive force and assault and battery of the
PLAINTIFFS, because all officers were aware of the policy and practices of the DEFENDANTS
CITY OF FALL RIVER, and its supervising police officials, of conducting superficial
investigations of allegations of constitutional violations by the officers and not disciplining its
police officers for such violations. This case provides another textbook example of this, as this


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case was directly investigated by the Professional Standards Unit which employs Nicholas
Hoar’s brother, Sgt. James T. Hoar.

    85. On November 12-13, 2017, DEMIX RUIZ-HERNANDEZ, LESLIE LUGO,
JONATHAN RUIZ-HERNANDEZ, MIGUEL SANCHEZ, and JOSE RUIZ-HERNANDEZ
were all beaten by the army of mostly Fall River police officers at Charlton Memorial Hospital,
falsely arrested for crimes they did not commit, and charged with multiple criminal offenses in
Fall River District Court by the Bristol County District Attorney’s Office.

   86. In January 2018, PLAINTIFF DEMIX RUIZ-HERNANDEZ retained the Law Offices of
Joseph J Voccola & Associates to represent him. David Morra, Esq. entered his appearance.

    87. On or about February 16, 2018, Attorney Morra requested dozens of items of discovery
pursuant to Rule 14 of the Criminal Rules of Procedure, and Massachusetts law requires that
these requests be complied with immediately.

   88. Defense counsel for the other Plaintiff’s filed some criminal discovery requests too.

    89. Attorney Morra has provided the Fall River District Court with documentation indicating
that the police shooting was not justified, which is contrary to the findings made by the Bristol
County District Attorney’s Office on March 16, 2018, and he provided the court with information
indicating that the police violently assaulted the Plaintiffs at the Hospital. Attorney Morra
obtained 3 court orders for the dozens of items of requested discovery related to the shooting,
including the police officer’s phone records, all police communications, police officer
statements, witness statements, photographs, scientific evidence, audio files, computerized
information, and a host of other requests, etc…, but the Bristol County District Attorney’s Office
refused to turn any of the requested records over, in direct violation Rule 14 of the Rules of
Criminal Procedure, and Rules 3.4, 3.8(d), and 8.4 (Misconduct) of the Massachusetts Rules
Professional Conduct.

   90. On October 15, 2018, a trial date was set for Plaintiffs LESLIE LUGO, JONATHAN
RUIZ-HERNANDEZ, MIGUEL SANCHEZ, and JOSE RUIZ-HERNANDEZ, in Fall River
District Court.

   91. The key Commonwealth witness, Fall River Police Officer MICHAEL PESSOA, who
wrote the false police reports about what happened in the Hospital, failed to show up to testify.

   92. The trial justice took the security video of the Hospital incident into his chambers and
watched it – and he then dismissed all charged against Plaintiffs LESLIE LUGO, JONATHAN
RUIZ-HERNANDEZ, MIGUEL SANCHEZ, and JOSE RUIZ-HERNANDEZ.

    93. Plaintiff Demix Ruiz-Hernandez’s was not present on October 15, 2018, as his trial date
for October 15, 2018 had been continued after the District Attorney’s Office had failed to comply

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with the court orders issued on July 31, 2018 and again on October 5, 2018, by failing to provide
Attorney Morra with the requested discovery. Another compliance deadline was set for
November 9, 2018, and the Bristol County District Attorney’s Office again failed to turn the
discovery over.

    94. The Bristol County District Attorney’s Office has never complied with the Court orders
to turn the discovery over, non-withstanding 3 court orders to do so, and the charges against
PLAINTIFF DEMIX RUIZ-HERNANDEZ were also dismissed in 2019 as a result.

    95. On December 19, 2019, a news article appeared in the Fall River Herald indicating that
the Commonwealth’s star witness and reporting officer regarding the Hospital beatings,
Defendant Officer Michael Pessoa, was involved in serious criminal wrongdoing dating back to
2014, which included several incidents involving beating innocent citizens and falsifying other
police reports to cover up his and other officers criminal acts. This misconduct occurred while
Plaintiff’s were being wrongfully prosecuted based on Officer Pessoa’s report, and the Bristol
County District Attorney’s Office unlawfully withheld this specifically requested information, in
direct violation Rule 14 of the Rules of Criminal Procedure, and Rules 3.4, 3.8(d), and 8.4
(Misconduct) of the Massachusetts Rules Professional Conduct.

                                                DAMAGES

    96. As a consequence of Defendants violation of Plaintiff's federal civil rights under 42
U.S.C. § 1983, Massachusetts Civil Rights M.G.L. c. 12 Sec 11I, and the Fourth and Fourteenth
Amendments, Plaintiff L.A. R-L was mentally, and emotionally injured and damaged as a
proximate result of decedent’s wrongful death, including but not limited to: Plaintiff L.A. R-L’s
loss of familial relations, decedent’s society, comfort, protection, companionship, love, affection,
solace, and moral support.

   97. Minor Plaintiff, L.A. R-L, by and through her Parent and Next Friend, JAYLIMAR
NATAL-LUGO, is entitled to recover wrongful death damages pursuant to M.G.L. c. 229, § 2
and Probate Code Section 1-301 and 1-302.

    98. Plaintiff, ESTATE OF LARRY RUIZ-BARRETO, by and through, JAYLIMAR NATAL-
LUGO, the personal representative of Larry Ruiz-Barreto’s estate, is entitled to recover wrongful
death damages pursuant to G.L. c. 229, § 2 and Probate Code § 1-301 and 1-302. Additionally,
Plaintiff JAYLIMAR NATAL-LUGO is entitled to the reasonable value of funeral and burial
expenses pursuant to G.L. c. 229, § 2.

    99. Plaintiff, ESTATE OF LARRY RUIZ-BARRETO, is entitled to recover damages by and
through JAYLIMAR NATAL-LUGO AND L.A. R-L, the personal representative of decedent’s
estate pursuant to his right of survivorship for the pain and suffering he endured as a result of the
violation of his civil rights.




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   100.        As a further direct and proximate result of defendants’ intentional and/or negligent
conduct, Plaintiff L.A. R-L has been deprived of decedent’s support.

    101.         As enumerated herein, all Plaintiffs have sustained damages and found it
necessary to engage the services of private counsel to vindicate the rights of decedent and
Plaintiffs’ rights under the law. Plaintiffs are therefore entitled to an award of attorney’s fees
and/or costs pursuant to statute(s) in the event that they are the prevailing parties in this action
under 42 U.S.C. §§ 1983, 1985-86 and 1988 and M.G.L. c. 12 Mass. Civil Rights Act § 11I.


                                       CLAIMS of
                            ESTATE OF LARRY RUIZ-BARRETO
                                    (42 U.S.C. §1983)

                                         COUNT I –Part A
             FAILURE TO RECRUIT, TRAIN, DISCIPLINE, and SUPERVISE
   102.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    103.         The Defendants CITY OF FALL RIVER, FALL RIVER POLICE
DEPARTMENT, and all identified and unidentified Defendants prior to and subsequent to
November 12, 2017 have shown a deliberate indifference, through their actions and lack thereof,
to the rights of citizens who interact with the police. Minority citizens are especially shown
indifference in this way.

    104.        Defendants CITY OF FALL RIVER, FALL RIVER POLICE DEPARTMENT,
and all identified and unidentified Defendants have failed to appropriately recruit and train sworn
officers in a manner that would prevent officers from using excessive force, and from physically
assaulting and falsely imprisoning citizens.

    105.        Defendants CITY OF FALL RIVER, FALL RIVER POLICE DEPARTMENT,
and all identified and unidentified Defendants have failed to appropriately recruit and train sworn
officers in a manner that would prevent officers from targeting and profiling minority citizens.

    106.        Defendants CITY OF FALL RIVER, FALL RIVER POLICE DEPARTMENT,
and all identified and unidentified Defendants failed to appropriately recruit and train sworn
officers in a manner that would prevent officers from authoring false reports, omitting pertinent
facts, and neglecting to write reports, in an effort to cover up other officers’ wrongdoings.

    107.        Defendants CITY OF FALL RIVER, FALL RIVER POLICE DEPARTMENT,
and all identified and unidentified Defendants have failed to appropriately discipline any officers
known to have been involved in the shooting, assaults and cover ups, pertaining to the
aforementioned events. As a result of the above-described violation of rights, including the right
of access to the courts secured by the First Amendment, the right to be free from unlawful
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seizure and arrest secured by the Fourth Amendment, and rights to due process and equal
protection secured by the Fourteenth Amendment, the Estate and all Plaintiff’s in each Count set
forth below have suffered great pain of mind and body and have been otherwise damaged.
                                        COUNT I - Part B

         Claim Against Officer Nicholas Hoar for Violating Larry Ruiz-Barreto’s
    Fourth Amendment Rights Predicated on The Intentional or Reckless Use of Deadly
     Force During the Course of an Unlawful Seizure in Violation of 42 U.S.C. § 1983

   108.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    109.        The Fourth Amendment to the United States Constitution guarantees citizens the
right to be secure in their person against the use of excessive and/or deadly force during the
seizure of a person.

   110.        By the means of Officer Hoar’s action of pointing his weapon at Larry Ruiz-
Barreto, his verbal commands and show of force, his freedom of movement was restrained and
prohibited and he was seized within the meaning of the Fourth Amendment.

    111.        Officer Hoar’s shooting of Larry Ruiz-Barreto, under the color of State law, was
intentional or reckless conduct. Officer Hoar:

   a.   Placed his gun in a live fire setting;
   b.   Pointed his gun at Larry Ruiz-Barreto;
   c.   Placed his finger inside the trigger guard;
   d.   Placed his finger on the trigger;
   e.   Discharged his gun by intentionally or recklessly applying force to the trigger; and
   f.   Intended to shoot Larry Ruiz-Barreto and to cause him severe physical injury or death.

     112.       At the time of the shooting, Larry Ruiz-Barreto was defenseless; was a mere
spectator at a race; he had no criminal record and had not committed a crime; was not a suspect
concerning the commission of a crime; was not armed; did not resist the police; did not attempt
to flee like everyone else; and posed no immediate or future threat of harm to Officer Hoar, other
police officers, or any other person; and the investigative stop executed by Defendant Hoar was
unlawful as it was based on a mere “hunch.”

    113.        Officer Hoar’s investigative stop based on a mere hunch was unlawful and his
intentional or reckless use of deadly force was excessive and unjustified, both in violation of Mr.
Ruiz-Barreto’s right to be free from unreasonable seizures of his person secured under the Fourth
Amendment.

    114.        As a direct and proximate cause of Officer Hoar’s intentional or reckless conduct,
Larry Ruiz-Barreto was subjected to excessive force during the course of an unlawful
investigative stop and seizure in violation of his Fourth Amendment rights and was killed.



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    115.        Officer Hoar’s violation of Larry Ruiz-Barreto’s Fourth Amendment right through
his intentional use of deadly force was clearly established under existing case law or general
Fourth Amendment principles and statements of law such that it was apparent to him that his
conduct was unlawful and unconstitutional.

    116.        Officer Hoar’s intentional or reckless and excessive use of deadly force was such
an obvious and/or apparent violation of the Fourth Amendment general prohibition against
unreasonable force that a reasonable officer would not have required prior case law to be on
notice that his conduct was unlawful and unconstitutional.

    117.       A reasonable police officer in Officer Hoar’s position should have understood that
his conduct violated Larry Ruiz-Barreto’s right to be free from the excessive use of deadly force.

   WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.

                                       COUNT I – Part C

        Claim Against Officer Nicholas Hoar For Violating Larry Ruiz-Barreto’s
     Fourth Amendment Rights by his Objectively Unreasonable conduct, including
The unlawful Investigative Stop, Exceeding the Lawful Scope of an Investigative Stop and
       Seizure, and Infliction Of Unreasonable Deadly Force During The Course
                     Of A Seizure in Violation Of 42 U.S.C. § 1983

   118.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    119.        The Fourth Amendment to the United States Constitution guarantees citizens the
right to be secure in their person against unreasonable seizures of the person.

    120.       A Fourth Amendment violation occurs when a police officer’s actions resulting in
the discharge of his weapon during a seizure causes injury or death and those actions leading to
and culminating in the discharge of his weapon are objectively unreasonable.

   121.         Officer Hoar’s shooting of Larry Ruiz-Barreto during the course of a seizure
constituted the reckless and unreasonable use of excessive force in violation of his rights secured
under the Fourth Amendment.

    122.       At the time of his seizure, Larry Ruiz-Barreto had not committed a crime, was not
a suspect concerning the commission of a crime, and was not the target of the search warrant.

    123.       At the time of his seizure, Larry Ruiz-Barreto was unarmed, harmless, and
defenseless.

    124.        Larry Ruiz-Barreto immediately surrendered to the authority of the police and
their show of force by putting his hands in plain view and in the air in a surrender position, a
position maintained until Officer Hoar shot him, and posed no immediate or future threat to any
police officer or anyone else.

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    125.      At all times before the shooting, Larry Ruiz-Barreto did not resist his seizure or
attempt to move or flee.

   126.       Officer Hoar’s act of shooting Larry Ruiz-Barreto was reckless and objectively
unreasonable in the following respects:

       a.      Larry Ruiz-Barreto was a law-abiding citizen and parked on the side of the road;
       b.      Officer Hoar lacked reasonable suspicion to believe that Larry Ruiz-Barreto was
               involved in criminal activity;
       b.      Officer Hoar lacked articulable reasonable suspicion to believe that Larry Ruiz-
               Barreto was armed or dangerous;
       d.      Officer Hoar lacked a lawful basis for conducting the investigatory stop of Larry
               Ruiz-Barreto;
       e.      Officer Hoar violated police protocols, which are designed to protect citizens and
               officers: (1) by unlawfully executing the investigatory stop, (2) by placing his
               police vehicle in front of the 1997 Acura instead of in the rear of it, (3) by failing
               to wait for backup to arrive; (4) by keeping the scene frozen and awaiting until
               sufficient police assistance arrived; (5) by getting out of his police vehicle with
               his weapon and banging his police issued weapon on the windshield on the 1997
               Acura in a threatening manner; (6) by shooting into a vehicle which posed no
               threat of harm, from the driver’s side, while standing; (7) by fabricating a false
               story that he could not take evasive actions rather than shoot Larry Ruiz-Barreto;
               (8) by fabricating a false story that Larry Ruiz-Barreto drove into him and
               knocked him up onto the hood on the 1997 Acura, and stating that he fired from
               the hood of the Acura, as the evidence shows this is impossible.
       f.      Officer Hoar pulled the trigger 6 times and shot Larry Ruiz-Barreto even
               though he was not fleeing, was not resisting his seizure, was not making any
               furtive movements, was not posing any threat to Officer Hoar or any other officer
               or person, and while he was complying with police commands.

    127.       Officer Hoar’s unreasonable conduct and use of excessive force described in the
preceding paragraphs was contrary to and in violation of established police protocols and
standards concerning the seizing of a person; clearly established constitutional rights; FRPD’s
Policy on Seizures and Use of Force; and/or Officer Hoar’s training, and clearly exceeded the
scope of a lawful traffic stop and seizure.

   128.       All of Officer Hoar’s actions leading up to and resulting in the shooting of Larry
Ruiz-Barreto were committed under the color of State law.

    129.        Officer Hoar’s objectively unreasonable actions (as described above) committed
during the seizure of Larry Ruiz-Barreto were the direct and proximate cause of the shooting and
his resulting death.

    130.       Officer Hoar’s violation of Larry Ruiz-Barreto’s Fourth Amendment right through
his use of excessive deadly force, was clearly established under existing case law or general

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Fourth Amendment principles and statements of law such that it was apparent to Officer Hoar
that his conduct was unlawful and unconstitutional. Specifically, it was apparent and/or clearly
established in this judicial circuit and in other circuits that harm inflicted during the course of an
intentional seizure constitutes a violation of the Fourth Amendment where the officer’s conduct
resulting in the harm was objectively unreasonable.

    131.       Officer Hoar’s use of excessive deadly force, was such an obvious and/or
apparent violation of the Fourth Amendment general prohibition against unreasonable force that
a reasonable officer would not have required prior case law to be on notice that his unreasonable
conduct was unlawful and unconstitutional.

    132.       A reasonable police officer in Officer Hoar’s position should have understood that
his conduct violated Larry Ruiz-Barreto’s right to be free from the excessive use of deadly force.

WHEREFORE, the Plaintiffs demand judgment against Officer Hoar in an amount that provides
full and fair compensation for the violation of Larry Ruiz-Barreto’s Fourth Amendment rights,
for the costs of this action, for attorney’s fees, for interest as allowed by law, and for all other just
and proper relief.

                                         COUNT I – Part D

 Claims Against Officer Nicholas Hoar Predicated Upon Reckless Or Callous Indifference
 To Larry Ruiz-Barreto’s Rights Under The Fourteenth Amendment To The United States
                      Constitution In Violation of 42 U.S.C. § 1983
                    (Substantive Due Process: State-Created Danger)

    133.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    134.       The Fourteenth Amendment protects citizens from the deprivation of life, liberty,
or property without due process of law.

    135.        Prior to his death on November 12, 2017, Larry Ruiz-Barreto was not a criminal
suspect and the Fall River police did not reasonable suspicion to perform an investigative stop,
reasonable suspicion that he was involved in criminal activities, nor did they have probable cause
to arrest him or to otherwise take him into custody.

   136.       At the time of his seizure, Larry Ruiz-Barreto had not committed a crime and he
was not a suspect concerning the commission of a crime.

    137.        At the time of his seizure, Larry Ruiz-Barreto was unarmed and defenseless.

    138.        Larry Ruiz-Barreto posed no immediate or future threat to the officers.

    139.       Larry Ruiz-Barreto immediately surrendered to the authority of Officer Hoar and
his show of force by putting his hands in plain view.



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    140.       Defendant Hoar’s actions created a strong likelihood of serious harm to Plaintiff,
or increased Plaintiff’s risk of serious harm.

    141.        Defendant Hoar was aware of the risk and consciously failed to take reasonable
measures to prevent harm to Plaintiff, or Defendant acted maliciously or recklessly with intent to
inflict injury.

    142.        It was foreseeable by Defendant Hoar that his actions would lead to the serious
injury to Plaintiff or death of Plaintiff.

   143.        Defendant Hoar’s actions resulted in a State-created danger and caused Plaintiff’s
death, and violated decedents substantive due process rights secured by the Fourteenth
Amendment, as Officer Hoar’s actions “shock the conscience.”

WHEREFORE, the Plaintiffs demand judgment against Officer Hoar in an amount that provides
full and fair compensation for the violation of Larry Ruiz-Barreto’s Fourteenth Amendment
rights, for the costs of this action, for attorney’s fees, for interest as allowed by law, and for all
other just and proper relief.

                                        COUNT I – Part E

Claims Against Nicholas Hoar For Punitive Damages Under 42 U.S.C. § 1983 Predicated
On The Excessive Use Of Deadly Force In Violation Of The Fourth Amendment And For
The Deprivation Of Life Without Due Process Of Law In Violation Of The Fourteenth
Amendment

   144.        Plaintiffs incorporate the preceding paragraphs as if fully stated herein.

    145.       Officer Nicholas Hoar’s actions as expressly set forth above resulting in the death
of Larry Ruiz-Barreto were motivated by evil motive or intent or were committed recklessly or
with callous indifference to Larry Ruiz-Barreto’s federally protected rights under the Fourth and
Fourteenth Amendments.

WHEREFORE, the Plaintiffs demand judgment against Officer Hoar for punitive damages for
the violation of Larry Ruiz-Barreto Fourth and Fourteenth Amendment rights, for the costs of
this action, for attorney’s fees, and for all other just and proper relief.

                                            Count II
                      (Survival action: Violation of decedent’s civil rights)
                                        (42 U.S.C. §1983)

(Plaintiff JAYLIMAR NATAL-LUGO as personal representative of decedent’s estate)

   146.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.


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   147.        Larry Ruiz-Barreto was forced to endure great conscious pain and suffering
because of the Defendant Hoar’s conduct before his death.

   148.        Plaintiff, JAYLIMAR NATAL-LUGO, as personal representative of the ESTATE
OF Larry Ruiz-Barreto claims damages for the conscious pain and suffering incurred by Larry
Ruiz-Barreto, as provided for under 42 U.S.C. §1983.

WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.

                                              Count III
                            (Conspiracy to Violate Decedent’s Civil Rights)
                                   (42 U.S.C. §§ 1983, 1985, 1986)

   149.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    150.        In doing the acts complained of herein, Defendant police officers and DOES 1 –
25 and each of them acted in concert and conspired to violate decedent’s federal civil rights to be
free from unreasonable seizures and excessive and/or arbitrary force, and violated the Plaintiff’s
right to due process and right of access to the courts by withholding, concealing, suppressing,
and/or destroying material evidence in contravention of the protections set forth in the First,
Fourth and Fourteenth Amendments to the United States Constitution.

    151.       Defendants and DOES 1 – 25 and each of them had knowledge of the wrongs, and
did attempt to conceal the excessive use of force and hide the true cause of decedent’s demise to
deprive Plaintiffs of their right of access to the courts to seek redress, all in violation of rights,
privileges, and immunities secured by the First, Fourth and Fourteenth Amendments to the
United States Constitution.

       WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.

                                            COUNT IV

                     (Violation of Decedent’s Right To Enjoy Civil Rights)
                               (Violation of M.G.L. c.12, Sec.11I)

   152.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    153.       Defendant Hoar’s above-described conduct constituted interference, and
attempted interference, by threats, intimidation and coercion, with decedent’s peaceable exercise
and enjoyment of rights secured by the Constitution and laws of the United States and the
Commonwealth of Massachusetts, in violation of M.G.L. c.12, Sec.11I.




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                                          COUNT V
                 Claim Against Nicholas Hoar For Wrongful Death Under
               G.L. c. 229, § 2 Predicated on Intentional or Reckless Conduct

   154.        Plaintiffs incorporate the preceding paragraphs as if fully stated herein.

    155.        Officer Nicholas Hoar’s shooting of Larry Ruiz-Barreto was intentional or
reckless in pulling the trigger and causing physical harm to Larry Ruiz-Barreto.

     156.       As an actual and proximate result of said defendant Hoar’s actions, and the death
of decedent, Plaintiff L. A. R-L, has sustained pecuniary loss resulting from the loss of comfort,
society, attention, services, and support of her father, decedent, in an amount according to proof
at trial.

    157.       As a further actual and proximate result of said defendants’ negligence, Plaintiffs
incurred funeral and burial expenses, in an amount according to proof at trial.

WHEREFORE, the Plaintiffs demand judgment against Officer Hoar in an amount sufficient to
fully and fairly compensate the Estate of Larry Ruiz-Barreto, under G.L. c. 229, § 2, the
Massachusetts Wrongful Death Statute, for the costs of this action, for interest as allowed by law,
and for all other just and proper relief.
                                            COUNT VI
                                       (Assault And Battery)

   158.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    159.       Defendant Hoar’s above-described conduct constituted the intentional tort of
assault and battery upon Larry Ruiz-Barreto.

WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.

                                         COUNT VII
                   (Intentional or Reckless Infliction of Emotional Distress)

   160.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    161.       Defendant Hoar’s above-described conduct was extreme, unreasonable and
outrageous.

    162.         In engaging in the above-described conduct, defendant Hoar intentionally ignored
or recklessly disregarded the foreseeable risk that decedent would suffer extreme emotional
distress as a result of defendants' conduct.

WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.

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                            CLAIMS OF
   DEMIX RUIZ-HERNANDEZ, LESLIE LUGO, JONATHAN RUIZ-HERNANDEZ,
             MIGUEL SANCHEZ, AND JOSE RUIZ-HERNANDEZ

                                            Count VIII
                                    (Violation of Civil Rights)
                              42 U.S.C. § 1983; M.G.L. c.12, Sec. 11I

   163.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    164.       The aforesaid actions and conduct by the Defendants, the CITY OF FALL
RIVER, the FALL RIVER POLICE DEPARTMENT, and the INDENTIFIED AND JOHN DOE
DEFENDANTS constituted threats, intimidation and/or coercion that interfered with Plaintiff’s
exercise and enjoyment of rights secured by the Constitutions and laws of the United States and
the Commonwealth of Massachusetts.

    165.         As a direct and proximate result of the above-described violation of rights,
Plaintiff’s suffered great pain of mind and body and was otherwise damaged beginning on
November 12, 2017 when they were assaulted in the Charlton Memorial Hospital, wrongfully
arrested, and then criminally prosecuted based on charges fabricated by the defendants.

    166.        The INDENTIFIED AND JOHN DOE DEFENDANTS unreasonable conduct and
use of excessive force on November 12, 2017, which was captured on surveillance video at the
Charlton Memorial Hospital, as described in the preceding paragraphs, was contrary to and in
violation of established police protocols and standards concerning the seizing of a person; clearly
established constitutional rights; and FRPD’s Policy on Seizures and Use of Force; and clearly
exceeded the scope of a lawful seizure and arrest.

    167.        Defendant CITY OF FALL RIVER did not require appropriate in-service training
or re-training of officers who were known to use excessive and unnecessary force during street
encounters with civilians.

    168.        Defendant CITY OF FALL RIVER did not require appropriate in-service training
or re-training of officers who were known to withhold, conceal, suppress, and/or destroy material
evidence.

    169.        Defendant CITY OF FALL RIVER did not require appropriate in-service training
or re-training of officers who were known to conceal and/or ignore the existence of material
civilian witnesses.

    170.        Defendant CITY OF FALL RIVER did not require appropriate in-service training
or re-training of officers who were known to violate the First Amendment right of persons to
record police officers in the public performance of their duties.



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    171.        As a direct and proximate result of the above-described policies and customs,
police officers in the Defendant CITY OF FALL RIVER, including the individual Defendant’s in
this case, believed that their actions would not be properly monitored by supervisory officers and
that misconduct would not be properly investigated or sanctioned, but would be tolerated.

    172.        The above-described policies and customs demonstrated a deliberate indifference
on the part of policymakers of Defendant CITY OF FALL RIVER, and were the cause of a
violation of Plaintiff’s rights alleged herein.

    173.         As a direct and proximate result of the above-described violation of rights, the
Plaintiff’s suffered great pain of mind and body and was otherwise damaged.

    174.        By reason of the matters stated above, which are incorporated by reference herein,
all Defendants, jointly and severally, are liable to the Plaintiffs under 42 U.S.C. § 1983 and
M.G.L. c. 12, § 11I, to pay monetary damage for their violation of Plaintiff's civil rights,
including defendants violation of their duty to intervene to prevent the excessive use of force by
fellow officers, as guaranteed by the Constitution of the United States and the Massachusetts
Declaration of Rights, commencing on or about November 12, 2017, and continuing thereafter.

                                           Count IX
                              (Conspiracy to Violate Civil Rights)
                                (42 U.S.C. §§ 1983, 1985, 1986)

   175.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    176.       In doing the acts complained of herein, Defendant police officers and DOES 1 –
25 and each of them acted in concert and conspired to violate Plaintiff’s federal civil rights to be
free from unreasonable seizures and excessive and/or arbitrary force.

    177.       Defendants and DOES 1 – 25 and each of them had knowledge of the wrongs, and
did attempt to conceal the excessive use of force and to deprive Plaintiffs of their right of access
to the courts to seek redress, all in violation of rights, privileges, and immunities secured by the
First, Fourth and Fourteenth Amendments to the United States Constitution.

       WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.

                                            Count X
                                      (Assault and Battery)

   178.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    179.        By reason of the matters stated above, which are incorporated by reference herein.
all Defendants, jointly and severally, are liable to the Plaintiff’s to pay monetary damages for the
intentional tort of assault and battery on or about November 12-13, 2017.


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                                            Count XI
                                          (False Arrest)

   180.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    181.        By reason of the matters stated above, which are incorporated by reference herein.
all Defendants, jointly and severally, are liable to the Plaintiff’s to pay monetary damages for
intentional tort of false arrest on or about November 12-13, 2017, and thereafter.

                                            Count XII
                                      (False Imprisonment)

   182.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    183.        By reason of the matters stated above, which are incorporated by reference herein,
the Defendants, jointly and severally, are liable to the Plaintiff’s to pay monetary damages for the
intentional tort of false imprisonment on or about November 12-13, 2017, and thereafter.

                                           Count XIII
                                     (Malicious Prosecution)

   184.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    185.        By reason of the matters stated above, which are incorporated by reference herein,
all Defendants, jointly and severally, are liable to the Plaintiff’s to pay monetary damages for the
intentional tort of malicious prosecution commencing on or about November 12, 2017, and
thereafter.

                                          Count XIV
                   (Intentional or Reckless Infliction of Emotional Distress)

   186.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    187.        By reason of the matters stated above, which are incorporated by reference herein,
all Defendants, jointly and severally, are liable to the Plaintiff’s to pay monetary damages for
their intentional or reckless infliction of emotional distress so severe that no reasonable person
could be expected to endure through their unconscionable, outrageous and wrongful conduct,
commencing on or about November 12-13, 2017, and continuing through October 15, 2018, and
thereafter.

                                           COUNT XV

                                CLAIMS of ALL PLAINTIFF’S



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                               (MONELL LIABILITY – PART A)
                                     (42 U.S.C. 1983)

   188.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    189.       Defendant CITY OF FALL RIVER has implemented an unconstitutional policy
by creating an atmosphere among ALL POLICE DEFENDANTS that allowed the
aforementioned actions.

    190.        Defendant CITY OF FALL RIVER is directly responsible for policies that do not
discourage its employees from using excessive force and assaulting citizens, particularly
minority citizens.

    191.        As a result of its status, Defendant CITY OF FALL RIVER had supervisory
responsibility over ALL POLICE DEFENDANTS.

   192.        Defendant CITY OF FALL RIVER ignored realistic opportunities they had to
prevent these employees from using excessive force and assaulting and covering up the wrong
doing of other employees.

    193.        As against defendants DANIEL RACINE AND ALBERT DUPERE and JASIEL
CORREIA and/or DOES 1-25 and/or each of them, individually and/or in their capacities as
official policy-maker(s) for the City of Fall River, the Plaintiffs further allege that the acts and/or
omissions alleged in the Complaint herein are indicative and representative of a repeated course
of conduct by members of defendant City of Fall River and its Police Department tantamount to
a custom, policy or repeated practice of condoning and tacitly encouraging the abuse of police
authority, and disregard for the constitutional rights of citizens, such as Plaintiffs.

    194.         Plaintiffs are informed and believe and thereon allege that the acts and/or
omissions alleged herein are the proximate result of a custom, policy, pattern or practice of
deliberate indifference by defendants City of Fall River, DANIEL RACINE AND ALBERT
DUPERE and JASIEL CORREIA, DOES 1-25 and/or each of them, to the repeated violations of
the constitutional rights of citizens by Fall River police officers, which have included, but are not
limited to, repeated acts of: excessive force, making false reports, providing false and/or
misleading information in causing detentions, arrests, imprisonments and/or malicious
prosecutions based on fabricated and/or misleading statements and/or engaging in similar acts of
misconduct on a repeated basis and failure to institute and enforce a consistent disciplinary
policy and/or early warning system.

    195.         Plaintiffs are further informed and believe and thereon allege that the acts and/or
omissions alleged herein are the proximate result of a custom, policy, pattern or practice of
deliberate indifference by defendants City of Fall River, DANIEL RACINE AND ALBERT
DUPERE and JASIEL CORREIA, DOES 1-25 and/or each of them, to the repeated violations of



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the constitutional rights of citizens by Fall River police officers, which have included, but are not
limited to, using excessive and/or deadly force on a repeated basis.

    196.        Plaintiffs are further informed and believe and thereon allege that the damages
sustained as alleged herein were the proximate result of customs, policies and/or practices which
included, but were not limited to, the failure to adequately or appropriately hold officers
accountable for their misconduct, the failure to properly and fairly investigate complaints about
officers’ misconduct, the failure to enact or adopt policies to ensure adequate and/or appropriate
oversight of officers to prevent continuing violations of the rights of citizens. 2

    197.        The aforementioned deliberate indifference, customs, policies or practices of
defendants City of Fall River, DANIEL RACINE AND ALBERT DUPERE and JASIEL
CORREIA, DOES 1-25, and/or each of them, resulted in the deprivation of the constitutional
rights of the decedent and Plaintiffs, including, but not limited to, the following:

       (a)     the right not to be deprived of life, liberty or property without Due Process of
               Law;
       (b)     the right to be free from unreasonable searches and/or seizures; and/or,
       (c)     the right to equal protection of the law.
       (d)     the right to familial relationships
       (e)     the right to enjoy civil and statutory rights

  198.       Said rights are substantive guarantees under the Fourth and/or Fourteenth
Amendments to the United States Constitution.

   2
     Under 42 U.S.C. § 1983, "[a]ctions taken by a municipality's final policymakers, even in
   contravention of their own written policies, are fairly attributable to the municipality," and
   actionable under 1983. Simmons v. Uintah Health Care Special Service District, 506 F.3d
   1281, 1287 (10th Cir. 2007).

   It is well settled “that ‘serial misconduct’ directed at a single victim may be sufficient to
   establish municipal liability” under 42 U.S.C. § 1983. Baron v. Suffolk County Sheriff’s
   Dept., 402 F.3d 225, 238 (1st Cir. 2005). The police shooting of Larry Ruiz-Barreto and the
   coverup engineered by the City of Fall River’s police officials, the Massachusetts State
   Police, and the Bristol County District Attorney’s Office clearly falls into the category of
   “serial misconduct.” The “record demonstrates a pattern of ongoing harassment” that “high-
   ranking [City] officials were aware of and did not stop.” Baron v. Suffolk County Sheriff’s
   Dept., 402 F.3d 225, 239 (1st Cir. 2005). Dimex Ruiz-Hernandez was forced to watch his
   son’s execution, the police cover-up, and then he was beaten by a small army of Fall River
   police officers while peacefully mourning his son’s death at the Hospital, falsely arrested,
   falsely imprisoned, and falsely prosecuted; while the prosecution intentionally violated Rule
   14 of the Criminal Rules for over a year and refused to provide any of the voluminous
   discovery requested, knowing it exonerated him – non-withstanding 3 court orders to turn it
   over.

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    199.         The CITY OF FALL RIVER, DANIEL RACINE, AND ALBERT DUPERE and
JASIEL CORREIA, knew or should have known that there was widespread customs and
practices of their police officers using excessive force, assaulting, and beating, and violating the
civil rights of civilians.

    200.        As a result of the violation of their constitutional rights by defendants CITY OF
FALL RIVER, DANIEL RACINE, AND ALBERT DUPERE and JASIEL CORREIA, and/or
DOES 1-25 and/or each of them, Plaintiffs sustained the injuries and/or damages as alleged
heretofore in this Complaint.

   201.    As a direct and proximate cause of the aforesaid actions and conduct of Defendant
CITY OF FALL RIVER, Plaintiff’s suffered great pain of mind and body and were otherwise
damaged.

    202.         As a direct and proximate result of the above-described violation of rights,
Plaintiff’s suffered great pain of mind and body and were otherwise damaged.

WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.

                   (MONELL LIABILITY – RATIFICATION -- PART B)
                                 (42 U.S.C. 1983)

   203.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

   204.        All Defendants acted under color of law.

    205.        The acts of Defendants deprived Decedent Larry Ruiz-Barreto and all Plaintiffs of
their particular rights under the United States Constitution.

    206.        Upon information and belief, a final policymaker, John Doe, acting under color of
law, who had final policymaking authority concerning the acts of Defendants complained of
herein, and ratified Defendants acts and the bases for them. Upon information and belief, the
final policymaker knew of and specifically approved of Defendants acts.

    207.       Upon information and belief, a final policymaker, John Doe, has determined that
the acts of Defendants were “within policy.”

    208.       By reason of the aforementioned acts and omissions, Plaintiffs have suffered loss
of the love, companionship, affection, comfort, care, society, training, guidance, and past and
future support of Decedent Larry Ruiz-Barreto. The aforementioned acts and omissions also
caused Decedent Larry Ruiz-Barreto pain and suffering, loss of enjoyment of life, and death.

    209.        By reason of the aforementioned acts and omissions complained of herein, the
Plaintiff’s have and continue to suffer from physical injuries, severe emotional distress, and other
injuries described herein as a result of the attack upon them by the Defendant Officers at

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Charlton Hospital, and because of their false arrests and malicious prosecutions, and the
subsequent police cover-up.

    210.       Accordingly, Defendants are liable to each Plaintiff for damages under 42 U.S.C.
§ 1983.

                                            Count XVI

                 NEGLIGENCE v. City of Fall River for General Negligence,
                          in Violation of M.G.L. c. 258 § 4

   211.        Plaintiffs incorporate all preceding paragraphs as if fully stated herein.

    212.       The DEFENDANT CITY OF FALL RIVER owed Plaintiff’s a duty to exercise
reasonable care, including but not limited to the failure to train, discipline, and supervise
defendants, which it breached.

     213.       As a direct and proximate result of the negligence of the Defendant City, in
failing to exercise reasonable care, the Plaintiff’s have and continue to suffer from physical
injuries, severe emotional distress, and other injuries described herein as a result of the attack
upon them by the Defendants, and the subsequent cover-up.


                                             PRAYER

WHEREFORE, Plaintiffs pray for relief, jointly and severally against Defendants as follows:

   1.      For general damages in a sum of $30 million dollars on counts 1-7, and 15-16;

   2.      For general damages in a sum of $3 million dollars for Demix Ruiz-Hernandez on
           Counts 8-16;

   3.      For general damages in a sum of $1 million dollars each for Leslie Lugo, Jonathan
           Ruiz-Hernandez, Miguel Sanchez, and Jose Ruiz- Hernandez on Counts 8-16;

   4.      For special damages, including but not limited to, past, present and/or future wage
           loss, income and support, medical expenses and other special damages in a sum to be
           determined according to proof;

   5.      For funeral and burial expenses according to proof;

   6.      For punitive damages and exemplary damages in amounts to be determined according
           to proof as to all defendants;

   7.      For reasonable attorney’s fees pursuant to 42 U.S.C. §1988 and M.G.L. c. 12 sec. 11I;

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Respectfully submitted,
Plaintiffs,
By their Attorneys,

/s/ Ronald J. Resmini                         /s/ Andrew Couture
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Dated: March 18, 2021




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